
187 Cal.App.2d 44 (1960)
LEO TELLEFSEN, Appellant,
v.
KEY SYSTEM TRANSIT LINES (a Corporation), Respondent.
Civ. No. 18797. 
California Court of Appeals. First Dist., Div. One.  
Dec. 2, 1960.
 T. G. Fitzgerald for Appellant.
 Hardin, Fletcher, Cook &amp; Hayes and Cyril Viadro for Respondent.
 BRAY, P. J.
 Plaintiff purports to appeal from an order sustaining without leave to amend defendant's demurrer to his first amended complaint.
 On January 26, 1959, a minute order was entered stating: "The Court being fully advised orders that the demurrer to the complaint be and the same is hereby sustained, without leave to amend." No judgment thereon has been entered.
 [1] It is well settled that an order sustaining a demurrer without leave to amend is not an appealable order or a final *45 judgment, and that a reviewing court does not have jurisdiction to review an appeal of this type. (Futlick v. F. W. Woolworth Co., 149 Cal.App.2d 296, 298 [308 P.2d 405]; Schmidt v. Townsend, 103 Cal.App.2d 185, 186-187 [229 P.2d 488]; Brown v. Mayor &amp; City Council, 174 Cal.App.2d 763 [345 P.2d 75]; see also 3 Witkin, California Procedure,  19, p. 2162.)
 The purported appeal is dismissed.
 Tobriner, J., and Duniway, J., concurred.
